 

Case 1:17-cv-00945-EJD Document 7 Filed 08/25/17 Page 1of1

Sn the Gnited States Court of Federal Clauns

No. 17-00945
(Filed: August 25, 2017)

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SIGFRID BRADSHAW ’ *

* AUG 2 5 2017
Plaintiff, *

* U.S. COURT OF

7 P FEDERAL CLAIMS

*
THE UNITED STATES, *
*
Defendant. *
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ORDER

Plaintiff's Complaint was filed pro se in this court on July 11, 2017. Plaintiff
submitted the complaint without the filing fees or a request to proceed in forma pauperis
for waiver of the filing fee. On July 17, 2017, this Court notified Plaintiff that if he failed
to pay the Court’s filing fee within 30 days August 17, 2017, his Complaint would be
dismissed without prejudice for failure to prosecute under Rule 41 of the Rules of the
Court of Federal Claims. To date, Plaintiff has not yet paid or requested to proceed in
forma pauperis. It is hereby ORDERED that Plaintiff's case is DISMISSED, without
prejudice, for failure to prosecute. The Clerk is directed to enter the judgement
accordingly.

IT IS SO ORDERED.

 

DD
Senior Judge

 
